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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

 v.                              Case No. 4:19-cr-00572 KGB

CLIFTON LOUIS WILLIAMS, BRANDON                                                  DEFENDANTS
DANNER, CODY ALEXANDER CAPPS,
GABRIEL VINCENT ELLINGTON,
CHRISTOPHER FAUCETTE, GARRETT
JOSEPH HARDIN, JACLYN BROOKS HARRIS,
ZACHARY CLARK HIGGINS, MALCOLM
XAVIER MEDLEY, LENN NELSON, JR., JAKE
WILLIAM PETERSON, AUSTIN TAYLOR
PHILLIPS, TEZZERA MARIE ROBERTS,
DONALD DEAN THOMAS, II, JESSICA ANGEL
VAIL, KATE MARIE VANVALKENBURG,
ALLISON PAIGE WEIR, JONTE MARIE WILLIAMS,
RASHARD ALLEX WILLIFORD, ANDREW WOOD
ZUERLEIN, and MATTHEW PAPEZ ZUERLEIN


               PRETRIAL DISCOVERY ORDER FOR CRIMINAL CASES

       This order is designed to eliminate the need for the filing of, response to, and ruling upon

the “routine” motions, such as the following: Rule 16 Discovery Motion; Motion for Disclosure

of Exculpatory Evidence; Motion for Disclosure of Any Offer of Leniency or Plea Bargain

Between the United States or the State of Arkansas and Any Government Witness; Motion to

Preserve Field Notes of Any Interview Conducted by Any Government Agent; Motion for

Disclosure of Rule 404(b) Evidence; Motion for Early Disclosure of Jencks Act Material; Motion

for Extension of Time to File Pretrial Motions; Motion of United States for Reciprocal Discovery;

Motion for United States for Notice of Alibi; Motion by Defendant for Grand Jury Testimony; and

Motion by Defendant for Electronic Surveillance.
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                                              RULE 16

       A motion is not required for discovery under Fed. R. Crim. P. 16. The provisions of Rule

16(a) state that the Government must provide discovery upon a defendant’s request, not upon a

motion or upon an order. See 2 C. Wright, FEDERAL PRACTICE AND PROCEDURE: CRIMINAL 2d

§ 257. Likewise, Rule 16(b) states that the defendant must provide reciprocal discovery if the

defendant makes discovery requests and the Government complies with those requests. The Court

expects the parties to provide discovery promptly and to do so without a court order.

                                           RULE 404(b)

       Similarly, a motion is not required for a defendant to obtain Rule 404(b) information. Fed.

R. Evid. 404(b) provides, in pertinent part, “upon request by the accused, the prosecution in a

criminal case shall provide reasonable notice in advance of trial, or during trial if the court excuses

pretrial notice on good cause shown, of the general nature of any such evidence it intends to

introduce at trial.” Defendants must present any request for Rule 404(b) information to the

Government, and the Government must comply with Rule 404(b) without a court order.

                                         BRADY/GIGLIO

       The Government must comply with its Constitutional obligation to disclose any

information known to it that is material to the guilt or punishment of the defendant whether or not

the defendant requests it. Brady v. Maryland, 373 U.S. 83 (1963); Giglio v. United States, 405

U.S. 150 (1972). Brady and Giglio information must be disclosed in time for effective use at trial.

In re United States (United States v. Coppa), 267 F. 3d 132, 142 (2d Cir. 2001); United States v.

Olson, 697 F.2d 273 (8th Cir. 1983). Cf. United States v. Higgs, 713 F.2d 39, 44 (3d Cir. 1983).




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                                          JENCKS ACT

       The Court has no authority to order disclosure of Jencks Act material until a witness has

testified. 18 U.S.C. § 3500. However, the Court encourages early disclosure so that trial delays

may be avoided.

                                         FIELD NOTES

       The Government must instruct agents of the United States to preserve field notes in

existence at the time of indictment. The Court will rule on the discoverability of such field notes

if that becomes an issue. The Court recognizes that the Government reserves its right to argue that

field notes of agents of the United States are not discoverable.

                          NEWLY DISCOVERED INFORMATION

       It is the continuing duty of counsel for both sides promptly to disclose to opposing counsel

all newly discovered information or other material within the scope of this order. Fed. R. Crim.

P. 16(c).

                                      NON-COMPLIANCE

       If a party has not complied with a discovery request, the party seeking discovery may move

the Court to order compliance. Fed. R. Crim. P. 16(d)(2). Until a party has unsuccessfully

requested discovery, no motion is needed. 2 C. Wright, FEDERAL PRACTICE AND PROCEDURE:

CRIMINAL 2d § 257. Counsel must comply with Local Rule 7.2(g) in connection with any motions

to compel discovery.

                                     PRETRIAL MOTIONS

       Pursuant to Fed. R. Crim. P. 12(c), the deadline for pretrial motions is two weeks prior to

trial. Motions that arise from Jencks Act material are excluded from this deadline. Filing motions

more than two weeks before trial will usually be helpful to the court, i.e., the earlier, the better.




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Motions in limine are not included in this deadline for pretrial motions, but even for motions in

limine, the earlier, the better. The parties are especially encouraged to file any motions that may

require a hearing, such as a motion to suppress, more than two weeks before trial.

                                  MOTIONS TO SUPPRESS

       Motions to suppress evidence obtained from a search pursuant to a warrant must allege

specific facts that, if proven, would provide a basis of relief. This Court will deny an evidentiary

hearing on suppression motions that are supported only by general or conclusory assertions

founded on mere suspicion or conjecture.

       It is so ordered this 29th day of October, 2019.


                                                     ____________________________________
                                                     Kristine G. Baker
                                                     United States District Judge




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